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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION


ROBERT EARL WALKER,                             )
                                                ) Case No. 7:20-CV-507
      Plaintiff                                 )
v.                                              ) By: Michael F. Urbanski
                                                ) Chief United States District Judge
ALTEC INDUSTRIES, INC.,                         )
                                                )
      Defendant.                                )

                               ORDER OF DISMISSAL

      Plaintiff and Defendant in this case have filed a stipulation of dismissal pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. ECF No. 14. Accordingly, the

motion is GRANTED and this case is hereby DISMISSED with prejudice and

STRICKEN from the active docket of the court.

      It is so ORDERED.

                                         Entered: 12/17/2021
                                                           Michael F. Urbanski
                                                           Chief U.S. District Judge
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                                         Michael F. Urbanski
                                         Chief United States District Judge
